     Case 5:12-cr-50035-JLV Document 3 Filed 06/22/12 Page 1 of 1 PageID #: 3
                                          UNITED STATES DISTRICT COURT
                                           DISTRICT OF SOUTH DAKOTA
                                                WESTERN DIVISION
                 VERONICA L. DUFFY, UNITED STATES MAGISTRATE JUDGE, PRESIDING
Tammy Wilka, Deputy Clerk                                FTR - RC 2
Jill Jegeris, PTSO                                       June 22, 2012
Scheduled to begin at 2:30 p.m.                          Court Time: 2:44 p.m. to 2:57 p.m.
         ______________________________________________________________________
                                                   CR. 12-50035-01
                United States of America,                  *           Laura Shattuck
                                                           *
                                   Plaintiff,              *
                                                           *
                          vs.                              *
                                                           *
                Louis Michael Pacer,                       *           Gary Colbath, Jr.
                                                           *
                                  Defendant.               *


INITIAL APPEARANCE AND ARRAIGNMENT
                U Indictment       G Information     G Complaint       G Juvenile Defendant - Courtroom Sealed
       Date of Federal arrest/custody:6/21/12
       Dfdt advised of the pending charges and the defendants constitutional and statutory rights
       Maximum Penalty
       Count I: up to 20 yrs impr, $1,000,000 fine, or both; up to 3 yrs sup. rel. and, upon revocation, an additional 2
                 yrs impr.; and $100 SVAF
       FINANCIAL AFFIDAVIT executed and filed
       Enter ORDER appointing counsel
       Dfdt arraigned and enters plea of Not Guilty
       Bond and Detention Issues
       G..... Enter ORDER setting G PR G Third Party G Cash G Surety G 10% bond
       U..... Enter ORDER of detention pending further hearing
